         Case 1:16-cr-10096-PBS Document 877-2 Filed 09/13/17 Page 1 of 2



A Fathers Letter

To sit in the court room and hear someone describe my child giving a perspective that my son is some
kind of unsympathetic monster drug kingpin is one of the hardest things that I have ever done.

Denzel is made of something that every parent wants in their child. He has all the qualities you can ask
for. Denzel was born premature, the smallest baby of all my children. I say that because now he is the
biggest. He was 2pnds 2 oz at birth. He dropped weight even after that and his lungs were not
developed. The doctors told me and his mother that nothing was certain. But every time I looked at him
in that incubator with all those tubes attached to him I knew he would make it. There was never a doubt
in my mind. Denzel to me is special. As an infant he was a good eater. He would eat so fast we would
have to tell him to slow down so he doesn’t choke. As a toddler he was a fast learner, and he walked at 9
months, and he was always getting out of his crib! & he could get back in just as easy. By 2 yrs old he
was trying to do everything his big brother and sister were doing. They were very close in age, 4 3 and 2.
They always showed him how do things and took things away that he wasn’t supposed to have. It was a
fun time when I look back. Denzel was the happiest kid when his little brother was born. He was able to
be the big brother now and take stuff away from him that he wasn’t supposed to take like the bottle! I
would tell him “No Denzel, give that back” and he would. Denzel loved his siblings. I noticed at a young
age he was very special. He was a very fast learner and a great listener. He also had a tremendous
amount of physical skills. But the thing that impressed me the most is his common sense. As a kid he
thought everything out; there was no pulling the wool over his head. There is no lying in Denzel. There is
no slickness or deceit in Denzel. He is a strait up person with a lot of love in his heart and I mean a lot of
love. Denzel is everything a father wants in a son and more. Denzel is good father to his kids. I would
watch him with them and every time no matter how many times I saw him with them I would smile. I
love seeing Denzel with his children. He is a good brother to his siblings. He would do anything he can
for them. The love that Denzel has for them makes me proud to be his father.

Denzel is a good person Your Honor. Denzel has a lot of love in his heart. Born to parents that were 15
and 16 years of age. Me and his mom were just kids when we started having kids. A dad from the streets
and his mom was a runaway. Just kids ourselves having babies. Not a lot of guidance from his young
parents and his fathers whole perspective was wrong. His mother was to young to understand the big
picture. His chances were a challenge from the start. But we were strong young kids, his mom and I. We
had our own place by the time we were 16 and 17. By 23 & 24 we had our own place in The Cape. His
mother and I had decent jobs at that time and we were young trying to raise a family of 4 kids by then.
We didn’t know a lot about life then and we didn’t have much help at all but we tried. We did some
things right and we did some things wrong.

We tried to keep our family together for as long as we could but after a break up when Denzel was
about 8 years old I ended up doing some time in jail myself, at 27 years old I finally change my
perspective on life. I wanted nothing but the best for my kids, school and education, college, jobs and all
that stuff that you preach to your kids about. But now everything has a cost and I wonder if my old
mentality may have trickled down to my sons years later.

.

“No Son that is not the way..” but it was too little too late. I gave myself a second chance in life and now
I ask you Your Honor to give my son one. He has made a major mistake. If I could I would change places
         Case 1:16-cr-10096-PBS Document 877-2 Filed 09/13/17 Page 2 of 2



with him, faster than a second. Your Honor please give my son a second chance. He deserves it. He is a
great son, a loving person and a great dad himself. He is a great sibling, and a great son to his mom who
he took care of after she had a brain aneurism in Oct, of 2015. She went to live with him after she was
able to leave the hospital, and then rehabilitation after the 2 brain surgeries. Denzel took good care of
her and made sure she was being cared for around the clock. She has since went to live with our other
children since this has happened. Denzel has love in his heart that is priceless. Denzel is not a monster.
Denzel is so loving and caring.

Please look into his eyes Your Honor, look at his demeanor. Look and him and you will see that
underneath, he is the person that I say he is. Denzel will help anyone who he can and his heart is big and
his love is big. His kids love him so much. Denzel has always been an honest person. He’s never lied to
me as a child. Honesty is something I am proud of and I love my son Your Honor. His kids love him Your
Honor. His mom and his siblings and his aunts and uncles and his family and friends all have a hole in
their heart for Denzel right now.

I say to you Your Honor please give my son a second chance. Please let it be that he will see his children
as a free man.

Sincerely,

Kenneth Chisholm Sr
